USCA Case #24-1113      Document #2090543              Filed: 12/18/2024     Page 1 of 2
                Supreme Court of the United States
                       Office of the Clerk
                   Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                               December 18, 2024


  Clerk
  United States Court of Appeals for the District of
  Columbia Circuit
  333 Constitution Avenue, NW
  Washington, DC 20001


        Re: Brian Firebaugh, et al.
            v. Merrick B. Garland, Attorney General
            No. 24-657
            (Your No. 24-1130; 24-1183; 24-1113)


  Dear Clerk:

        The Court today entered the following order in the above-entitled case:

         Consideration of the application (24A587) for an injunction pending
  review presented to The Chief Justice and by him referred to the Court is
  deferred pending oral argument. Applicants suggested this Court treat the
  application as a petition for a writ of certiorari; doing so, the petition is
  granted. The petition for a writ of certiorari in No. 24-656 (24A587) is
  granted. The cases are consolidated, and a total of two hours is allotted for
  oral argument. The parties are directed to brief and argue the following
  question: Whether the Protecting Americans from Foreign Adversary
  Controlled Applications Act, as applied to petitioners, violates the First
  Amendment. The parties are directed to file electronically simultaneous
  opening briefs, limited to 13,000 words, and a joint appendix on or before 5
  p.m. (EST), Friday, December 27, 2024. Reply briefs, limited to 6,000 words,
  are to be filed electronically on or before 5 p.m. (EST), Friday, January 3,
  2025. Any amicus curiae briefs are to be filed electronically on or before 5
  p.m. (EST), Friday, December 27, 2024. Booklet format briefs prepared in
  compliance with Rule 33.1 shall be submitted as soon as possible thereafter.
  The case is set for oral argument on Friday, January 10, 2025.
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                                   Sincerely,




                                     Scott S. Harris, Clerk
